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                                      UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
Mario Ruiz, Raul Guerrero,and Robert Torres on behalf CASE NUMBER :
of themselvesand all other similarly situated,
                                                                    2: l 7-cv-06017-SVW-AFM
                                                       PLAINTIFF(S),
                                    V.
ShamrockFoods Company,et al.
                                                                                              NOTICE OF APPEAL
                                                   DEFENDANT(S) .



NOTICE IS HEREBY GIVEN that _ ____;M=a=-=ri-=-o-=-R=u=iz:.,_,=R=a=ul:...;G=u=
                                                  e=rr:,.;::e=ro;;.J.,...:::a=nd::;_.:;cR=o-=-be=rt-=-T-=-o=rra.::..e=
                                                                              '--_hereby     appeals to
                                                                      Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

  Criminal Matter                                                          Civil Matter
  •   Conviction only [F.R.Cr.P. 32(j)(l)(A)]                              •    Order (specify) :
  •   Conviction and Sentence
  •   Sentence Only (18 U.S.C. 3742)
  •   Pursuant to F.R.Cr.P. 32(j)(2)                                        ~   Judgment (specify):
  •   Interlocutory Appeals                                                      Defendant'sMotion for SummaryJudgment
  •   Sentence imposed:
                                                                            •   Other (specify):

  •   Bail status:



 Imposed or Filed on __ A_u-g~u_st_3_0~,
                                 _20_18
                                    __ . Entered on the docket in this action on August 30. 2018

 A copy of saidjudgmentor orderis attachedhere!,;?,,/                               .


 September 10, 2018                                        --#--"/_V
                                                                __L....,,.:::..,_
                                                                          _________________                                                    _
 Date                                                      Signature
                                                           • Appellant /Prose             igi Counsel   for Appellant    •   Deputy Clerk

 Note:      The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
            attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
            of copies of the Notice of Appeal to permit prompt comp liance with the service requirements of FRAP 3( d).



 A-2 (01/07)                                                   NOTICE OF APPEAL
Case 2:17-cv-06017-SVW-AFM Document 59 Filed 09/10/18 Page 2 of 15 Page ID #:1443
   Case 2:17-cv-06017-SVW-AFM         Document 58 Filed 08/30/18 Page 1 of 1 Page ID # :1441



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         8                            UNITED STA TES DISTRICT COURT
         9
                                    CENTRAL DISTRICT OF CALIFORNIA
        10
             MARIO RUIZ, RAUL GUERREROl                     CASE NO. 2:17-cv-06017-SVW-AFM
        11   and ROBERT TORRES on behalf or
             themselves and all others similarly            [PR~             JUDGMENT
        12   situated,
        13                      Plaintiffs,
        14   V.

        15   SHAMROCK FOODS COMPANY,
             an Arizona Corporation, and DOES               Complaint Filed:          August 14, 2017
        16   l to 10, inclusive,                            Trial Date:               None Set
        17                      Defendants.
        18

        19         For the reasons set forth in this court's Order Granting Defendant Shamrock
        20   Foods Company's Motion for Summary Judgment, IT IS ORDERED AND
        21   ADJUDGED:
        22         That Plaintiffs Mario Ruiz, Raul Guerrero, and Robert Torres take nothing,
        23   that the action be dismissed on the merits, and that Defendant Shamrock Foods
        24   Company recover from Plaintiffs Mario Ruiz, Raul Guerrero, and Robert Torres its
        25   costs of action.
        26   DATED:      J/J1/;r
        27

        28                                              ~son
                                                            United States District Judge

                                     !PROPOSED] JUDGMENT: CASE NO. 2 :17-CV-06017
Case 2:17-cv-06017-SVW-AFM Document 59 Filed 09/10/18 Page 3 of 15 Page ID #:1444
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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
    Case No.      2: 17-cv-06017-SVW-AFM                                              Date     August 22, 2018

    Title
                  Mario Ruiz et al v. Shamrock Foods Company

                                                                 JS-6



    Present: The Honorable       STEPHEN V. WILSON, U.S. DISTRJCT JUDGE

                       Paul M. Cruz                                                     NIA
                       Deputy Clerk                                           Court Reporter I Recorder
               Attorneys Present for Plaintiffs:                         Attorneys Present for Defendants:

                             NIA                                                         NIA
    Proceedings:              IN CHAMBERS ORDER GRANTING DEFENDANT'S MOTION FOR
                              SUMMARY JUDGMENT [27] AND MOOTING PLAINTIFFS' MOTION
                              TO CERTIFY CLASS [25]


      I.    Introduction

           Plaintiffs Mario Ruiz, Raul Guerrero and Robert Torres (collective ly "Plaintiffs"), commercial
   drivers who were employed by Shamrock Foods Company ("Defendant") in California , have filed a
   class action lawsuit, alleging on their behalf and the putative class, a single claim for a procedural
   violation of the disclosure requirements under the Fair Credit Reporting Act ("FCRA"), 15 U.S.C. §
   1681b(b )(2)(A)(i). Defendant moved for summary judgment for two reasons : (1) Plaintiffs ' individual
   claims are barred by the statute of limitations and (2) Plaintiffs cannot establish Article III standing. The
   Court GRANTS Defendant's motion, which moots Plaintiffs' motion to certify the class .

      II.   Background

           Shamrock is a business that specializes in the manufacture and distribution of food and food-
   related products. Shamrock is headquartered in Arizona and emp loys workers in, among other states ,
   California. During Plaintiffs ' employment, Shamrock regularly required that, after making a conditional
   offer of employment , applicants complete disclosure and authorization forms for third-party vendors to




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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

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   complete background checks. Deposition of Randall Beyries ("Beyries Depo") 24: 16-22.

           From approximately 2012 to early 2015, Shamrock contracted with the company JobApp, and its
   successor-in -interest, talentReef (collectively "JobApp"), to design and manage an integrated job
   application system, including the pre-screening authorization forms that Shamrock provided to
   applicants and employees. Declaration of Randal Beyries ("Beyries Dec")~ 5. JobApp specially
   designed an application form for driver applicants to seek categories of information required for
   compliance with U.S. Department of Transportation ("DOT") regulations concerning the employment of
   commercial drivers.

           The integrated JobApp application system included a separate disclosure and authorization form
   that applicants signed as a condition for third-party company, Credential Check Corporation
   ("Credential Check"), to complete background checks on applicants . Beyries Dec,~ 8; Beyries Depo,
   24:16 -25:06. Prior to engaging Credential Check, Shamrock had used Martech, Inc. ("Martech").
   Beyries Dec. at~ 10.

           Two of the named Plaintiffs, Robert Torres ("Torres") and Raul Guerrero ("Guerrero"),
   completed job applications through JobApp and were subject to background checks completed by
   Credential Check. These background checks occurred pursuant to its disclosure and authorization forms
   they signed. Beyries Dec.~ 9; Deposition of Robert Torres ("Torres Depo") 38: 16-39:05, Ex. 16;
   Deposition of Raul Guerrero ("Guerrero Depo") 55 :7-10. Plaintiff Mario Ruiz ("Ruiz") was hired by
   Shamrock before the Company began engaging JobApp and Credential Check and completed a
   disclosure and authorization form for Martech to conduct a background check. Beyries Dec,~ 10.

   Facts Regarding Named Plaintiff Ruiz

           On June 29, 2011, Plaintiff Ruiz completed a job application for a delivery driver position with
   Shamrock. Deposition of Mario Ruiz ("Ruiz Depo"), 23:01-07, Ex. 10. The last page of the application
   included a disclosure that the applicant's previous employers would be contacted for the purpose of
   evaluating the applicant's safety performance history. This research which was done by Shamrock's
   staffing personnel pursuant to regulations applicable to commercial drivers ("Internal Employment
   Verification"). Beyries Dec,~ 10; see 49 CFR § 391.23(c)(2). The last page of the application also




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                                UNITED STATES DISTRICT COURT
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   included an authorization for Shamrock-not a third party-to retrieve the driver applicant's motor
   vehicle record, as required under these federal regulations ("Internal MVR Check"). Beyries Dec., 110;
   see 49 CFR § 391.23(a)(l).

           Ruiz states that the basis of the violation is the Internal MVR Check and Internal Employment
   Verification - the last page of the driver application that he completed on June 29, 2011. Ruiz Depo ,
   24:07-25:02; Ex . 10. Ruiz claims that he did not understand the entire last page of his driver application;
   however, he is unable to articulate what, if any, language is confusing or that he did not understand.
   Ruiz Depo, 25:08-26:22. Ruiz does not identify any other document or information that forms the basis
   of his FCRA claim except the Internal MVR Check and Internal Employment Verification. Ruiz Depo ,
   27:07-30:06.

           Ruiz also affirmatively stated at deposition that he was not confused by the relevant form. Ruiz
   Depo, 58:25-59:05, Ex. 11. Ruiz affirms that he read the Martech form in its entirety on July 18, 2011
   when he began working for Shamrock, and he knew that Martech would be procuring a background
   check for employment purposes. Ruiz Depo, 58:25-59:05, Ex. 11. Pursuant to the signed disclosure and
   authorization , Martech completed a background report concerning Ruiz on July 22, 2011. Ruiz Depo,
   55:05-56:02; Beyries Dec, 1 11. Martech did not complete any other additional background checks
   concerning Ruiz . Ruiz Depo, 55:24-56:02; Beyries Dec, 111. Ruiz's employment began on August 8,
   2011 and he left Shamrock on November 4, 2016. Beyries Dec., 14.

   Facts Regarding Named Plaintiff Guerrero

           Plaintiff Guerrero filled out Shamrock's JobApp employment application for driver applicants
   including an "Employment Record" form on February 18, 2014. Guerrero Depo, 44:11-21 , Ex. 6. The
   basis of Guerrero's FCRA claim is that the Employment Record form incorporated into the driver
   application contained a liability waiver that released third parties (such as his prior employers) to the
   extent they provided information to Shamrock. Guerrero Depo, 48:08-49:02. 51 :09-52:06 , Ex. 8. That
   Employment Record, however , was relied upon by Shamrock for internal purposes in conducting
   employment verification of driver applicants, not for Credential Check to obtain a consumer report.
   Beyries Dec, 116 and 7. In any case , Guerrero testified that he did not review any of the relevant
   language on the form when he signed that document. Guerrero Depo, 49:23-50:07 , Ex. 8.




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                              CENTRAL DISTRICT OF CALIFORNIA

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           Similar to the manner in which he completed the Employment Record form, Guerrero did not
   read the Credential Check disclosure and authorization form that he signed on February 18, 2014 .
   Guerrero Depo, 55:07-58:07, Ex. 9. In completing that form, he stated that spent just as much time as
   necessary to fill out portions on the first page and click boxes. Guerrero Depo, 56:04-11. Guerrero stated
   that he was aware that his employment with Shamrock was subject to a background check. Guerrero
   Depo, 47 :02-13 . Shamrock obtained from Credential Check background reports concerning Guerrero on
   March 14, 2014 and June 26, 2014. Beyries Dec, ,i 9. Guerrero's employment began on March 24, 2014
   and he separated on August 26, 2016. Id. at ,i 4.

   Facts Regarding Named Plaintiff Torres

           Plaintiff Torres completed Shamrock's driver job application on August 2, 2012. Torres Depo,
   17:06-21:09, Ex. 13. The application was similar to the forms completed by Guerrero and was used for
   internal purposes for Shamrock to evaluate driver applicants. Beyries Dec, ,i 7; Guerrero Depo, Ex. 6.
   Torres states that the basis for his FCRA claim is the language contained on the signature page of his
   employment application, which is different from the applications completed by both Ruiz and Guerrero.
   Torres Depo 25:05-21; 26:01-02, Ex. 13. Specifically, Torres claims that the middle paragraph on page
   eight of the driver application, the signature page , was confusing and that it violates the law. Torres
   Depo, 21 :03-19. However, he does not know what law Shamrock is allegedly violating and is unable to
   explain why the language is problematic or confusing. Torres Depo, 26 :12-25. Notably , the employment
   application was not relied upon for any consumer reporting agency to conduct a background check.
   Beyries Dec, ,i 12.

          Shamrock retained in its files a disclosure and authorization form that was electronically signed
   by Torres on August 2, 2012, expressly authorizing Credential Check to conduct a background report.
   Beyries Depo, 24:16-25:06, 32:25-33:06. However, when shown the disclosure and authorization form
   in deposition, Torres testified that he does not recall reviewing or even completing that form. Torres
   Depo, 38:16-39:05 , Ex. 16. Torres' employment began on November 12, 2012 and he separated on
   November 3, 2016. Beyries Dec , ,i 4.

   Procedural Background




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                               CENTRAL DISTRICT OF CALIFORNIA

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           On August 14, 2017, Plaintiffs filed a one-count class action Complaint alleging that Shamrock
   violated the FCRA. Since then, the parties have engaged in written discovery and conducted deposition
   of key witnesses. Plaintiffs filed their Motion of Class Certification on March 1, 2018. Dkt. 25.
   Defendant filed a Motion for Summary Judgment on March 19, 2017. The Court considers the Motion
   for Summary Judgment first.

     III.   Legal Standard

            Summary judgment is proper where, viewing the evidence and inferences in favor of the
   nonmoving party, "the movant shows that there is no genuine dispute as to any material fact and the
   movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby,
   Inc ., 477 U.S. 242,247, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). Material facts are those that may
   affect the outcome of the suit under governing law, and an issue of material fact is genuine "if the
   evidence is such that a reasonable jury could return a verdict for the nonmoving party." Anderson, 477
   U.S. at 248. When a plaintiff fails to provide evidence of an essential element for a claim that plaintiff
   bears the burden of proving at trial , summary judgment for the defendant is appropriate. Cleveland v.
   Policy Mgmt. Sys. Corp., 526 U.S. 795, 806 (1999).

            Without individual standing to raise a legal claim, a named representative does not have the
   requisite typicality to raise the same claim on behalf of a class. Piazza v. Ebsco Indus., Inc., 273 F .3d
   1341, 1347 (11th Cir. 2001).

     IV.    Analysis

                a. Plaintiffs' Lack Standing

           Plaintiffs have failed to demonstrate that they suffered a concrete injury sufficient to satisfy
   Article III standing requirements. Standing to sue is a doctrine "rooted in the traditional understanding
   of a case or controversy." Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). This doctrine limits the
   group of litigants allowed to maintain a lawsuit in federal court to seek redress for a legal wrong. Valley
   Forge Christian Coll. v. Am . United for Separation of Church and State, Inc., 454 U.S. 464, 472-73




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   (1982) . The point of inquiring into standing is to ensure that parties have a "personal stake " in the
   outcome. Id. at 491 .

            A plaintiff does not "automatically satis:fly] the injury-in-fact requirement whenever a statute
   grants a person a statutory right and purports to authorize that person to sue to vindicate that right."
   Spokeo at 1547. Rather, a plaintiff bears the burden of proving at a minimum that he or she has "(1)
   suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3)
   that is likely to be redressed by a favorable judicial decision." Id; Lujan v. Defenders of Wildlife, 504
   U.S. 555, 560 (1992) .

            This case turns on the first of the three elements, whether Plaintiffs have suffered an injury in
   fact, which requires evidence of an injury that is "concrete and particularized" and "actual or imminent,
   not conjectural or hypothetical." Lujan, 504 U.S. at 560 (citations omitted). For an injury to be
   "particularized," it must affect the plaintiff in a personal and individual way." Spokeo , 136 S. Ct. at 1548
   (internal citation omitted). For an injury to be "concrete," it "must be 'de facto'; that is, it must actually
   exist." Id.

           To the extent that Plaintiffs claim that the disclosure and authorization forms did not technically
   comply with the requirements of the FCRA, this is the type of bare procedural violation that the
   Supreme Court described in Spokeo as insufficient. 136 S. Ct. at 1540. The Supreme Court noted that
   "Article III standing requires a concrete injury." Id. To establish such an injury , the plaintiff must allege
   a statutory violation that caused him to suffer some harm that "actually exist[s]" in the world; there must
   be an injury that is "real" and not "abstract" or merely "procedural." Spokeo at 1548-49. Thus , even
   when a statute has allegedly been violated , Article III requires such violation to have caused some real-
   as opposed to purely legal- harm to the plaintiff.

           A plaintiff cannot satisfy the demands of Article III by alleging a bare procedural violation
   because "a violation of one of the FCRA's procedural requirements may result in no harm." Spok eo,
   supra, at 1550. For example , even if a consumer reporting agency fails to provide the required notice to
   a user of the agency's consumer information, that information regardless may be entirely accurate. Id . In
   addition , not all inaccuracies cause harm or present any material risk of harm. Id.




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                                      UNITED STATES DISTRICT COURT
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          In Syed v. M-1, 853 F.3d 492, 499 (9th Cir. 2017), the Ninth Circuit acknowledged Spokeo and
   affirmed the principle that procedural violations may not result in a concrete injury; nevertheless, the
   Ninth Circuit held that certain pleadings could survive a motion to dismiss if the Court could infer a
   concrete injury from the pleadings. Importantly, Syed did not actually alter Spokeo's controlling law on
   standing: inaccuracies that cause no harm or present no material risk of harm do not confer.

            Syed also addressed the standing issue at the pleading stage "drawing all reasonable inferences in
   favor of the Plaintiff." 853 F.3d at 499 . The Ninth Circuit explained that it had sufficient facts there to
   infer that the plaintiff was "confused by the inclusion of the liability waiver with the disclosure and
   would not have signed it had it contained a sufficiently clear disclosure, as required in the statute." Id. at
   499-500. As a result, the plaintiff-for purposes of a motion to dismiss-had alleged an injury in fact.
   Id. at 500. 1 But Syed included a significant footnote in which the Court noted that although the
   plaintiffs allegations must be taken as true for purpose of a motion to dismiss, "what suffices at the
   Rule 12(b)( 6) stage may not suffice at the later stages of the proceedings when the facts are tested. "2 Id.

              A majority of courts that have reviewed these types of FCRA disclosure claims post-Spokeo and Syed have found
   that plaintiffs alleging a bare procedural vio lation of the stand-a lone disclosure requirement under FCRA, without more , lack
   stand ing to pursue their claims . See, e.g., Bercut v. Michaels Stores, Inc., No. 17-cv-0 1830, 2017 U.S. Dist. LEXIS IO1373,
   at * 12 (N .0. Cal. June 29, 2017) (finding no basis to infer harm from complaint based on the lack of any allegation that
   plaintiff was confused by the disclosure, that she would not have signed the aut hori zation had it been presented in the FCRA-
   compliant format , or that she was otherwise concrete ly harmed by the stand-alone disclosure violation); Chism v. Frito-la y,
   Inc., 17-cv-00152, 2017 U.S. Dist. LEXIS 176875, at *3 (N .D . Cal. June 19, 2017) (ho lding that allegations of a deficient
   emp loyer certification under FCRA alone does not give rise to standing under Spokeo).
              Plaintiff s contend that the district court in Bercut "wrongly interprets Syed as requiring a plaintiff to allege 'ac tual
   harm ' or confusion." Plaintiffs ' Opp. MPA , 20: 10-1 I. But Sye d recognized that a bare procedural violat ion is inadequate to
   satisfy Article llI standing , and the ultimate issue support ing the existence of a concrete harm was whether the plaintiff "was
   confused by the inclusion of the liability waiver with the disclosure and would not have signed it had it contained a
   sufficiently clear disclosure . ... " 853 F.3d at 499.
              Furthermore , following Sye d, courts have held that "for a [FCRA disclosure] violation to become a concrete
    ' informational injury ,' the plaintiff must allege that because of the FCRA violation, he was ' not aware ' that he was signing an
   aut horization to a credit check. " Machioli v. Pre-Employm ent.com, No. 16-2305-JGB , 20 17 U.S . Dist. LEXIS 2 17648, at*
   23 (C.D. Cal. June 30, 2017). In considering the defendants ' motion to dismiss, the court held that the plaintiff failed to
    allege that the FCRA disclosure violat ion "deprived him of the ability to understand his rights or meaningfully authorize the
   procurement of a credit report on him . As such, Plaintiff fails to adequately allege a plausible nexu s between [defendant ' s]
   alleged violation of its disclosure and authorization requirements and the Plaintiffs asserted informational injury." Id .
    2 In Groshek v. Time Warner Cable, Inc., the Seventh Circuit distinguished Sye d, explaining the Ninth Circuit had facts in




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   at n. 4. This Court is at that later stage now .

           Here, at summary judgment-and       after discovery, Plaintiffs cannot assert that they were
   confused by the disclosure and authorization form or that they were otherwise concretely harmed by the
   alleged stand-alone disclosure violation. Ruiz testified that there was no portion of the Martech
   disclosure and authorization he signed that he did not understand. Ruiz Depo, 57:09-59:04, Ex. 11; SUF
   No. 9. Both Guerrero and Torres did not even review the disclosure language in the Credential Check
   form before signing. Guerrero Depo, 56:09-11, 58:03-07, Ex. 9; Torres Depo, 38: 16-39 :05, Ex. 16; SUF
   Nos. 10 and 11. In addition, not only did Plaintiffs lack any confusion about the disclosure and
   authorization forms, Plaintiffs were fully aware that background checks were being procured. Torres
   Depo , 23:13-15, Ex. 15; Guerrero Depo, 46:15-47:01 , 47:10-13, Ex. 7; SUF Nos. 4 , 5 and 8.

           Unlike Syed, Plaintiffs lack facts to allow the Court to make an inference that they were confused
   by the inclusion of a liability waiver with the disclosure or would not have signed the authorization form
   had it contained a sufficiently clear disclosure. Marchioli v. Pre-Employ.com, EDCV 16-2305 JGB
   (DTBx), 2017 U.S. Dist. LEXIS 217648, at *22-23 (C.D. Cal. June 30, 2017) (dismissing plaintiff's
   FCRA claim and distinguishing Syed because plaintiff failed to allege that technical violations of
   Section 1681 b deprived him of the ability to understand his rights or meaningfully authorize the
   procurement of a credit report on him, and therefore failed to adequately allege a plausible nexus
   between the alleged violation of disclosure and authorization requirements and plaintiffs asserted
   informational injury).

            Plaintiffs argue in their opposition that the inclusion of Credential Check's FCRA Disclosure
    Form in Shamrock's online job application system violated FCRA's requirement that the disclosure
    form be a stand-alone document. But Plaintiffs provide no evidence that this online application system
    created any sort of confusion other than by incorporating multiple documents. In fact, courts have held
    that a FCRA Disclosure Form that is listed on separate screens or in different tabs of an online

    Syed from which it could infer harm. 865 F.3d 884, 889 (7th Cir. 2017). In contrast, the plaintiff in Groshek presented no
    factual allegations at the pleading stage plausibly suggesting that he was confused by the disclosure form or the form 's
    inclusion of a liability release , or that he would not have signed it had the disclosure form complied with 15 U.S.C . §
    1681b(b )(2)(A)( i). Id. As a result, the Seventh Circuit held that the plaintiff did not plead an injury-in-fact sufficient to confer
    Article Ill standing and upheld the district court's decision to dismiss the case. Id.




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   employment application is considered a single document that is not inherently confusing. In Newton v.
   Bank of America, No. 2;14-03714-CBM, 2015 U.S. Dist. LEXIS 62930, at *20 (C.D. Cal. May 12,
   2015), the plaintiff similarly claimed that the FCRA Disclosure Form was not a clear and conspicuous
   document consisting solely of the disclosure because the employer sought the applicants' authorization
   during its on line job application process through a "convoluted, electronic book" of many pages. The
   court rejected the plaintiffs argument concluding that the FCRA does not prohibit an employer from
   providing a FCRA Disclosure Form "as part of the employer's job application process" or "at the same
   time the employer provides other employment documents." id., at* 21; see also Goldberg v. Uber
   Techs., No. 14-CV-14264-RGS, 2015 U.S. Dist. LEXIS 44675, at *5-6 (D. Mass. Apr. 6, 2015).

            Plaintiffs also provided declarations with their Opposition, attempting to create a genuine dispute
    of material fact. The declarations contained the same exact statement claiming that Plaintiffs were
    confused by Shamrock's job application, with the same typographical error: "When I was (sic) filled out
    my employment application to work for the Defendant, it contained multiple pages and multiple
    authorization forms. As a result, I was confused about exactly what I was signing and what I was
    providing authorization for." Torres Dec., ,i 4; Ruiz Dec., ,i 4; Guerrero Dec., ,i 4. The only evidence
    showing any possibility of confusion directly contradicts the deposition testimony of all three Plaintiffs .3
    These declarations lack evidentiary value because the assertions regarding confusion are vaguely
    worded, lack necessary foundation, and are speculative. 4 The declarations do not explain what aspect of
    the "employment application" they found confusing or whether they are referring to the job application
    form, the entire online application process, or something else. The ambiguity over what confusion
    Plaintiffs purportedly experienced is further compounded by Plaintiffs' Opposition hedging that such
    confusion was "likely caused by Defendant's use of multiple forms and multiple questions .... "

              Ruiz also went through an entirely different process because he was hired before Torres and Guerrero ; it is unlikely
    that he would have the same experience as Torres and Guerrero.
    4         Furthermore, the Court finds that these affidavits fall under the sham affidavit rule. To strike an affidavit under the
    "sham affidavit" rule, the "inconsistency between a party ' s deposition testimony and subsequent affidavit must be clear and
    unambiguous." Van Asdale v. Int 'l Game Tech., 577 F.3d 989, 998 (9th Cir. 2009). Ruiz also affirmative ly stated at
    deposition that he was not confused by the relevant form. Ruiz Depa, 58:25-59:05 , Ex. 11. Guerrero testified that he did not
    review any of the relevant language on the form when he signed that document. Guerrero Depa , 49:23-50 :07, Ex. 8. Torres
    testified that he did not recall reviewing or even completing the relevant form: Torres Depa , 38: 16-39:05, Ex. 16. These
    statements are not "attempts to explain or clarify deposition testimony" but rather a "blatant attempt to create a sham issue of
    fact." Harris v. Del Taco, Inc., 396 F. Supp. 2d 1107, 1114 (C.D. Cal. 2005).




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   Plaintiffs' Opp. MPA, 22:26-23:02.

            In Syed, the Court could rely on allegations in the complaint in the context of a motion to
   dismiss; however, at the summary judgment stage, Plaintiffs must produce evidence demonstrating
   standing. These Plaintiffs have not. Plaintiffs did not suffer any concrete harm because of the allege
   FCRA informational violation . Plaintiffs have not shown that they were confused by the third-party
   liability waiver or would not have signed the FCRA Disclosure Forms had they not contained that
   waiver language. There is no genuine dispute of material fact concerning whether Plaintiffs have
   standing to pursue their FCRA claim. 5 The named Plaintiffs lack standing and the Court GRANTS
   Defendant's Motion for Summary Judgment on standing grounds. 6

              Plaintiffs' statement that an "online authorization that included a FCRA authorization form took [Guerrero] 1.5
    hours to complete" is unfounded. Plaintiffs' Opp. MPA, 7:01-03. Rather , Guerrero testified that he spent "an hour to an hour
    and a half ' completing the job application itself, and he did not testify that there was an "authorization" within an
    "authorization ." Guerrero Depa, 49:13-50:02. Plaintiffs' Opposition also cites excerpts from Ruiz's deposition taken out of
    context. Ruiz admitted that the only aspect of his employment application process that he did not understand was language at
    the very bottom of the job application form . Ruiz Depa , 25: 12-26:22.
    6         Even if the Court held that Plaintiffs did have standing to bring their claims, Plaintiffs claims would fail because of
    another procedural defect: the statute oflimitations.
              FCRA provides for a hybrid limitations period that is divided between a five-year absolute statute of repose and a
    two-year "discovery" limitations period within that longer five-year period. Specifically , the relevant section provides: "An
    action to enforce any liability created under this title may be brought ... not later than the earlier of - ( l) 2 years after the
    date of discovery by the plaintiff of the violation that is the basis for such liability; or (2) 5 years after the date on which the
    violation that is the basis for such liability occurs." 15 U .S.C. § 168 l p.
               For the purpose of the five-year statute of limitations, a violation of section 1681b(b)(2)(A) does not occur until an
    employer obtains the claimant's consumer report, not when the claimant comp letes a disclosure and authorization form.
    Harris v. Home Depot U.S.A., Inc., 114 F. Supp. 3d 868, 869 (N.D. Cal. 2015); Singleton v. Domino's Pizza, No . DKC 11-
     1823, 2012 U.S. Dist. LEXIS 8626, at *37-38 (D. Md. Jan . 25, 2012).
               The two-year statute of limitations for an alleged FCRA violation begins when a "reasonably diligent plaintiff would
    have discovered facts constituting the violation ." Drew v. Equifax Info. Servs., 690 F.3d l 100, 1110 (9th Cir. 2012);
     Grigoryan v. Experian Info. Solutions , 84 F. Supp. 3d 1044, 1058 (C.D. Cal. 2014). The term "discovery " here "encompasses
    not only those facts the plaintiff actually knew , but also those facts a reasonable diligent plaintiff would have known." Merck
     v. Reynolds , 130 S. Ct. 1784, 1795-96 (2010).
               More specifically , the two-year statute of limitations period runs from when a claimant discovers the "facts" that
     give rise to a claim, and not when a claimant discovers that those facts constitute a legal violation . Mack v. Equabl e Ascent
    Fin. , 748 F.3d 663, 665-66 (5th Cir. 2014) (citing Merck v. Reynolds, 559 U.S. 633, 644-648 (2010)). Courts have held that
     "facts" giving rise to a disclosure form claim under Section 1681b(b )(2)--marking the date that the statute of limitations




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   begins- is the date that a claimant teams that a consumer report was obtained by his or her employer. See, e.g., Alibri s v.
   ADT , No. 9: l 4-CV-81616 , 2015 U.S. Dist. LEXIS 114575, at *26-27 (S.D. Fla. Aug . 28, 2015) (statute of limitation for
   FCRA disclosure claim began to accrue on the date the plaintiff received pre-adverse action notice , and therefore when
   plaintiff knew or should have known that the defendant had obtained a copy of plaintiffs report).
              The cases cited by Plaintiffs in support of their statute of limitations interpretation concern substantive FCRA
   violations related to inaccurate consumer reports. See Hy de v. Hibernia, 861 F.2d 446, 450 (5th Cir. 1988) (explaining that
   each transmission of an inaccurate credit report is a separate and distinct tort to which a separate statute of limitations
   applies); Vasquez v. Bank of Am. , N.A., No. 15-cv-04072-RS , 2015 U.S. Dist. LEXIS 154682, at *9-10 (N.D. Cal. Nov . 13,
   2015) (explaining that plaintiff's FCRA claim is timely because she filed her claim within two years after discovering that
   employer had reported inaccurate information to a credit reporting agency); Larson v. Ford Credit, No. 06-CV0 1811, 2007
   U.S. Dist. LEXIS 47181, at * 11-12 (D. Minn. June 28, 2007) ("each re-report of inaccurate information , and each failure to
   conduct a reasonable investigation in response to a dispute, is a separate FCRA violation subject to its own statute of
   limitations") . Plaintiffs here do not allege inaccurate consumer reports .
              The alleged injuries here would stem entirely from the FRCA Disclosure Forms. Although the FCRA disclosure
   violation is not perfected until a consumer report is obtained , the Court holds that the disclosure injury is not a continuing
   violation. Case law addressing other consumer protection statutes recognizes that a disclosure violation is not a continuing
   violation for statute of limitations purposes. See Velardo v. Fremont Inv. & Loan, 298 F. App'x 890, 892 (11th Cir. 2008) (a
   nondisclosure violation under the Truth in Lending Act occurs when the transaction is consummated, and nondisclosure is
   not a continuing violation for purposes of the statute of limitations); King v. California , 784 F .2d 910, 914 (9th Cir. 1986)
   (rejecting the continuing violation theory arising from a failure to correct a disclosure violation under the Truth in Lending
   Act). Generally, "[a] continuing violation is occasioned by continual unlawful acts, not by continual ill effects from an
   original violation ." Beaver v. Tarsadia Hotels , No. l lcvl842 DMS (CAB) , 2012 U.S. Dist. LEXIS 61448, at *27 (S.D. Cal.
   May 2, 2012) (Interstate Land Sales Full Disclosure Act) (citing Ward v. Caulk, 650 F.2d 1144, 1147 (9th Cir. 1981)).
              Plaintiff Ruiz ' s claim is barred by both the two-year and five-year limitation s periods. The five-year repose period
   begins on the date of the "violation" that is the basis for that liability. 15 U .S.C. § 1681p. A "violation" of Section
    1681b(b)(2)(A) is complete when an employer obtains the claimant's consumer report. Harris , supra , 114 F. Supp. 3d 868 at
   869; Singleton , supra, 2012 U.S. Dist. LEXIS 8626 at *37-38. It is undisputed that, pursuant to the disclosure and
   authorization he signed, Ruiz's background report was obtained by Shamrock on July 22, 2011. Ruiz Depo, 55:09-56:02 ;
    Beyries Dec, ~ 11; Statement of Undisputed Facts ("SUF "), Nos. 1 and 2. Therefore , because the alleged violation occurred
   more than five years before this suit was filed on August 14, 2017, his claim is barred under Section 1681p.
              Plaintiffs Guerrero's and Torres ' claims are barred by the two-year statute of limitations because each knew or
   should have known of the facts giving rise to a FCRA violation shortly after filling out his application for employment.
   Torres understood that a background check was being obtained when he received his job offer on September 28, 2012. Torres
   Depo , 23: 13-15, Ex. 15. Additionally , Guerrero knew when he received his job offer from Shamrock on March 5, 2014 that
   the background check was being completed. Guerrero Depo, 47: 10-13, Ex. 7; SUF Nos. 4, 5 and 8. Plaintiffs ' offer letters
    informed them that their offer of employment was conditioned on the results of the background check. Guerrero Depo, 46: 15-
    47:0 l , Ex. 7; Torres Depo, 23:13-15 , Ex. 15.
              Here, Plaintiffs were aware by their first day of employment with Shamrock that background reports had issued




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                  b. Plaintiffs' Request for Additional Discovery And Search For Other Class
                     Representatives

             Plaintiffs ask that if this Court grants the motion, the Court should provide Plaintiffs additional
    time to conduct discovery. The federal courts have consistently held that a Rule 56(d) motion for further
    discovery is properly denied where the moving party has failed to diligently pursue discovery.
    California Union Ins. Co. v. American Diversified Sav . Bank, 914 F.2d 1271, 1278 (9th Cir. 1990). Rule
    56 is "not designated to give relief to those who sleep upon their rights." Id. This case was filed back in
    August 2017. Plaintiffs have had ample time to conduct discovery. Standing is a critical aspect of what a
    plaintiff must prove at trial-and usually before trial as well. Plaintiffs provide no reason why this
    discovery could not and should not have been conducted at an earlier time. The Court denies the request
    for further discovery.

             Plaintiffs also ask this Court to allow substitution of class representatives . The Ninth Circuit has
    he ld that when a plaintiff lacks constitutional standing to pursue a claim on behalf of a class, the case
    must be dismissed. Lierboe v. State Farm Mut . Auto. Ins. Co., 350 F.3d 1018, 1023 (9th Cir. 2003);
    Moreno v. Autozone, Inc., 401 F. App'x 24, 25 (9th Cir. 2010) (vacating certification of class and
    denying substitution of a new named plaintiff). Plaintiffs and their counsel cannot use discovery,
    especially when the court lacks subject matter jurisdiction , to identify a substitute class representative .
    Reed v. Bowen, 849 F.2d 1307, 1313-14 (10th Cir. 1988); see also Falcon v. Phillips Elec . N. Am. Corp.,
    304 F. App'x. 896, 898 (2d Cir. 2008) (affirming district court's denial of plaintiffs motion to reopen
    discovery to identify a substitute class representative on the ground it is a fishing expedition since
    plaintiff was on notice that her adequacy as a class representative was contested and "she had ample

    since their offer letters made clear that their employment was contingent on the result of background checks. SUF Nos. 4 and
    8. Even if it were found that Plaintiffs did not have such actual knowledge, they would have constructive knowledge since a
    reasonably diligent plaintiff would have determined that the background reports were completed , given that disclosure in
    their offer letters and that they knew they had the right to request a copy of the reports. SUF Nos. 1, 3 and 6; see Merck v.
    Reynolds , 130 S.Ct. 1784, 1795-96 (20 I 0) (term "discovery " encompasses not only those facts the plaintiff actually knew ,
    but also those facts a reasonable diligent plaintiff would have known") .
              Because Plaintiffs knew, or should have known , that Shamrock procured a background check on them more than
    two years before they filed this lawsuit, their FCRA claim is also barred by the statute of limitation s.




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   opportunity to identify other plaintiffs to serve as class representatives"). This is particularly true
   because Plaintiffs filed a motion for class certification before Plaintiffs' Opposition to this motion and
   was aware that the named Plaintiffs' adequacy would be contested. The Court denies Plaintiffs' request
   for substitution.

     V.     Conclusion

           The Court GRANTS Defendant's Motion for Summary Judgment because the named Plaintiffs
   lack standing to pursue the one claim in this case. Thus, Plaintiffs' Motion for Class Certification is
   MOOT.




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